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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 LaTonya Young
                   Plaintiff,                 Case No. 19-cv-12129

 v.                                           Paul D. Borman
                                              United States District Judge
 Comm’r of Social Security,
                                              David R. Grand
                Defendant.                    United States Magistrate Judge
 ________________________________/



                         OPINION AND ORDER
       (1) ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
      RECOMMENDATION (ECF No. 20), (2) GRANTING DEFENDANT’S
      MOTION FOR SUMMARY JUDGMENT (ECF No. 17), (3) DENYING
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
           (ECF No. 16), AND AFFIRMING THE FINDINGS OF THE
                             COMMISSIONER

      On September 28, 2020, Magistrate Judge David R. Grand issued a Report

and Recommendation (ECF No. 20) addressing the cross-motions for Summary

Judgment filed in this matter (ECF No. 16, 17). In the Report and Recommendation,

Magistrate Judge Grand recommends the Commissioner’s Motion (ECF No. 17) be

granted and Young’s Motion (ECF No. 16) be denied, and pursuant to 42 U.S.C. §

405(g), the ALJ’s decision be affirmed.




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      Having conducted a review of the Magistrate Judge’s Report and

Recommendation and there being no timely objections under 28 U.S.C. § 636(b)(1)

and E.D. Mich L.R. 72.1(b), this Court ADOPTS the Report and Recommendation

of Magistrate Judge Grand that GRANTS the Commissioner’s Motion, DENIES

Young’s motion, and AFFIRMS the decision of the Commissioner.

SO ORDERED.




                                          s/Paul D. Borman
Dated: November 6, 2020                   Paul D. Borman
                                          United States District Judge




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